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                               UNITED STATES DISTRICT COURT
14
                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
15
16   KATHRYN SPLETSTOSER,                          )   Case No. 2:19-cv-10076-MWF-AGR
                                                   )
17                Plaintiff,                       )   PARTIES’ STIPULATION TO
                                                   )   EXTEND DEFENDANT’S
18          v.                                     )   DEADLINE TO ANSWER FIRST
19                                                 )   AMENDED COMPLAINT (L.R. 7-1)
     UNITED STATES OF AMERICA,                     )
20                                                 )   Current Answer Date: March 9, 2023
21                Defendant.                       )   New Answer Date: May 2, 2023
                                                   )
22                                                 )   Honorable Michael W. Fitzgerald
                                                   )   United States District Judge
23                                                 )
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1          The plaintiff, Kathryn Spletstoser, and the defendant, the United States of
2    America, hereby stipulate as follows:
3          This action under the Federal Tort Claims Act, 28 U.S.C. §§ 1346(b)(1); 2671-
4    2680, is again before the Court on remand from the United States Court of Appeals for
5    the Ninth Circuit after the Government’s appeal from the denial of its motion to dismiss
6    (Dkt. No. 62).
7          The parties agree that before further litigation commences it is appropriate to
8    explore a resolution of this matter by way of settlement.
9          An extension of the current March 9, 2023, deadline for the Government to
10   answer the complaint for an initial 60 days would allow the parties to focus their efforts
11   on pursuing settlement and avoid the costs of litigation. Accordingly good cause exists
12   for the requested extension. See Fed. R. Civ. P. 6(b)(1).
13         Plaintiff does not object to the requested relief “so long as it is DOJ that will
14   continue to represent the defendant throughout the pendency of the litigation.”
15         The plaintiff, Kathryn Spletstoser, and the defendant, the United States of
16   America, hereby jointly stipulate that the March 9, 2023, deadline for the United States
17   to answer the First Amended Complaint, should be stayed until May 2, 2023.
18   Dated: March 6, 2023             Respectfully submitted,
19                                    KESSELMAN BRANTLY STOCKINGER LLP
                                      MAJED DAKAK (SBN 271875)
20
                                      TREVOR STOCKINGER (SBN 226359)
21
                                      SOLOMON LAW FIRM, PLLC
22
                                      KATHYRN BARCROFT, (admitted pro hac vice)
23
24                                    /s/ Ariel E. Solomon [via email authorization]
                                      ARIEL E. SOLOMON, (admitted pro hac vice)
25                                    Attorneys for Plaintiff Kathryn Spletstoser
26
27   Dated: March 6, 2023             BRIAN M. BOYNTON
28                                    Principal Deputy Assistant Attorney General
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